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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,    Case No. 1:20-cv-03010-APM

v.                                    HON. AMIT P. MEHTA

GOOGLE LLC,

                       Defendant.


STATE OF COLORADO, et al.,
                                      Case No. 1:20-cv-03715-APM
                       Plaintiffs,
v.                                    HON. AMIT P. MEHTA

GOOGLE LLC,
                       Defendant.




                   PLAINTIFF STATES’ POST-TRIAL BRIEF
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                                          INTRODUCTION

        Google’s distribution contracts deprive users and advertisers alike of the benefits of

competition, including lower prices, increased quality, and greater innovation. Joint Brief at 29-

58. 1

        That is not the whole story. First, Google also harmed competition through its operation

of SA360, which is enabled by the impact of the exclusionary distribution contracts and general

search engine (“GSE”) rivals’ limited ability to attract advertisers. Second, as the full impact of

Google’s monopoly flows “downstream” (SJ Decision at 54), Google’s rivals are weakened in

their ability to attract SVPs to supply content for rivals’ results pages on terms that would prevail

in a competitive market.

        The distribution contracts allow Microsoft only a slim path through its default on its Edge

browser to reach users, and thereby entice advertiser interest. Google uses SA360 to lodge itself

firmly between Microsoft (and GSEs that syndicate Microsoft Ads like DuckDuckGo and

Yahoo!) and advertisers. Advertisers use SA360 because they want to easily place ads on both

Google and its rivals. SFOF ¶¶ 119-28. But with its dominant market share of general search

advertising, Google pads its monopoly profits by making it more difficult for advertisers to

efficiently place ads with Google’s rivals. That disadvantages advertisers by advantaging

Google, which makes about 150 times more money when an advertiser uses SA360 to buy a

Google ad than a non-Google ad. Id. ¶ 141. Advertisers worried about this dynamic and Google



1
 “Joint Brief” refers to Plaintiffs’ Post-Trial Brief jointly submitted by DOJ Plaintiffs and
Plaintiff States on their overlapping allegations. “SFOF” refers to Plaintiff States’ Proposed
Findings of Fact, “JFOF” refers to Plaintiffs’ Proposed Findings of Fact jointly submitted by
DOJ Plaintiffs and Plaintiff States, and “SCOL” refers to Plaintiff States’ Proposed Conclusions
of Law. Citations to “Tr.” are to the trial transcript. “SJ Decision” refers to the Court’s
Memorandum Opinion on Google’s summary judgment motions. Dkt. 624.

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yielded to their concerns with a commitment to not favor itself. Id. ¶ 149. Google did not keep

its word. Id. ¶ 148.

       As this Court has explained, “[t]he issue is whether Google’s delayed rollout of SA360

support for Microsoft Ads inhibited or dissuaded advertisers from placing ads on its competitor’s

search engine, thereby harming competition in the general search advertising market.” SJ

Decision at 56. The evidence is plain that advertisers are both inhibited and dissuaded from

using SA360 to place ads with Google’s competitors.

       Advertisers using SA360 are inhibited from optimizing Bing ad campaigns because

Google has restricted their ability to employ Microsoft Ads features that Google knows would be

to their advantage, most notably auction-time bidding. SFOF ¶¶ 257-62. In late 2020, Google

concluded that use of auction-time bidding increased conversions by        even more than the

double-digit increases found a year earlier (15-30% on SA360 and 12% on Skai). Id. ¶¶ 182,

191, 202. Shortly before Google pulled the plug on testing in 2020, “Auction-time bidding …

[f]or MSFT advertising” was a top requested feature in a Google survey of advertisers—which

Google ignored despite its claim of following advertiser demand. Id. ¶¶ 199, 237. Importantly,

Google’s test of Microsoft auction-time bidding (which would have measured advertiser

demand) survived cost cutting reviews in late 2019 until Google executives intervened, claiming

that “Google builds our tools to assist advertisers with their advertising campaigns … primarily

on Google’s platform.” Id. ¶¶ 216, 222.

       The result is that SA360 advertisers are dissuaded from advertising on Bing. The proof is

in Google’s own pudding. Google’s economic expert Mark Israel proffered a statistical analysis

to demonstrate that the introduction of Google auction-time bidding on SA360 did not harm

Bing. Id. ¶ 268 n.15. But the data he presented showed exactly the opposite: Bing’s market


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share declined by 0.4% in the eighteen months before the introduction of Google auction-time

bidding and declined by 2.25% in the same time period after the introduction. Id. ¶ 268. Google

has argued that Plaintiff States must identify specific advertisers that switched from Bing to

Google (Tr. 7179:11-21), but Dr. Israel’s own analysis tells the larger story, showing that Bing’s

market share—the sum total of all advertisers’ decisions—dropped over five times faster after

SA360 supported Google’s auction-time bidding.

       Google’s claimed SA360 justifications fare no better, replete with disregard for

advertisers’ demand for Microsoft features, (SFOF ¶¶ 195-206), implausible and contradictory

explanations (Id. ¶¶ 234-39), and sudden, unexplained changes in its willingness to test

Microsoft Ads features (Id. ¶¶ 209-30). All are pretextual; none is procompetitive. Id. ¶ 273-80.

       Next, the Joint Brief at pages 29-58 demonstrates widespread harm from Google’s

distribution contracts. In addition to that direct harm, these contracts also weaken rivals’ ability

to compete and strengthen their search results pages through content partnerships—a connection

the Court has recognized:

       “(1) Google’s distribution agreements limit its rivals’ ability to attract users,
       (2) this weakens Google’s rivals, and make them less attractive partners to SVPs,
       and (3) the inability to form better partnerships with SVPs depresses Google’s
       rivals’ ability to compete for general search users.”

SJ Decision at 54. Plaintiff States have proven each step: the distribution agreements limit

rivals’ ability to attract users (particularly for mobile searches) and, as a result, Microsoft must

pay more for SVP content and has trouble attracting SVP partners, which in turn further

depresses Microsoft’s ability to compete for users. SFOF ¶¶ 285-96. The mechanism is the

same as the harm discussed in the Joint Brief—limiting the ability of rivals to gain users makes

them less interesting to any firm that wants a robust source of user traffic, whether as an

audience for an ad or in exchange for content. Joint Brief at 30-51; SFOF ¶¶ 288-94.

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       Google has monopoly power in the four markets pleaded by Plaintiff States. In this brief,

Plaintiff States explain why general search advertising—advertising on a GSE results page—is

an appropriate antitrust market, principally because advertisers reach the same users with the

same unique mindset whether they buy general search text ads or shopping ads. Google’s

monopoly power is proven by its market share of over 90%, as well as by direct evidence that

when Google drives up SVPs’ cost of using Google search ads to acquire customers, SVPs keep

buying Google ads because they lack a competitive alternative.

       In United States v. Microsoft Corp., the D.C. Circuit held that Microsoft used technical

restrictions to unlawfully maintain its monopoly power when its unlawful contractual restrictions

proved insufficient. 253 F.3d 34, 64 (D.C. Cir. 2001). So too here. Beyond its exclusionary

distribution contracts, Google deploys its monopoly power to degrade the efficiency of rival

advertising on SA360 and artificially raise costs for rivals, customers, and SVPs alike. By

throwing sand in the gears of a bicycle instead of placing a boulder in the way, Google hopes its

conduct will escape scrutiny. But sticky gears still impede a cyclist’s ability to move forward.

I.     LEGAL FRAMEWORK

       In addition to the legal discussion in Plaintiff States’ Proposed Conclusions of Law and in

Plaintiffs’ Joint Proposed Conclusions of Law, Plaintiff States emphasize:

       Market definition focuses on demand substitution, i.e., the choices ad buyers and GSE

users make between products. “[T]he general question is whether two products can be used for

the same purpose, and if so, whether and to what extent purchasers are willing to substitute one

for the other.” FTC v. Staples, Inc., 970 F. Supp. 1066, 1074 (D.D.C. 1997). Buyers’ choices

inform market definition because a properly defined product market includes only those products

that constrain a firm’s behavior. FTC v. Sysco Corp., 113 F. Supp. 3d 1, 38-40 (D.D.C. 2015).

If market participants view a product as necessary or a “must-have,” that product has low
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sensitivity to price changes, is unconstrained by other products’ pricing, and is a relevant product

market. FTC v. Surescripts, LLC, 665 F. Supp. 3d 14, 42 (D.D.C. 2023); NCAA v. Bd. of

Regents of Univ. of Okla., 468 U.S. 85, 111 (1984) (affirming antitrust market for college

football broadcasts because they “generate[d] an audience uniquely attractive to advertisers”).

       Some substitution on the edges by some customers is not enough to defeat a proposed

market definition because such limited substitution would not restrict a monopolist’s ability to

profit from disadvantaging its customers or users. Sysco, 113 F. Supp. 3d at 33. Indeed, “[i]t

would be improper to group complementary goods into the same relevant market just because

they occasionally substitute for one another.” Id. at 31. “Substitution must be effective to hold

the primary good to a price near its costs,” id., and “[i]solated examples of potential

substitutability simply do not outweigh the consistent testimony and representations of industry

participants or the empirical evidence provided by [an expert witness].” FTC v. Tronox Ltd., 332

F. Supp. 3d 187, 202 (D.D.C. 2018).

       The views of a product seller like Google on the relevant product market has minimal

significance “on the key questions of product interchangeability and cross-elasticity of demand

from the perspective of consumers.” Flovac, Inc. v. Airvac, Inc., 817 F.3d 849, 855 (1st Cir.

2016). For this reason, “[a] market definition which is confined to the seller’s perspective is not

meaningful.” Id. Rather, the best evidence to assess buyer demand in ad markets is how ad

buyers actually spend money in the marketplace. See Sysco, 113 F. Supp. 3d at 30, 42-43. The

weight of the evidence here shows advertisers will not abandon general search advertising in

general or Google in particular, proving that a product market exists. Infra at 9-18. “[T]he mere

fact that a firm may be termed a competitor in the overall marketplace does not necessarily

require that it be included in the relevant product market for antitrust purposes”; rather, the


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market “must be drawn narrowly to exclude any other product to which, within reasonable

variations in price, only a limited number of buyers will turn.” Sysco, 113 F. Supp. 3d at 26.

        Monopoly power is “the power to control prices or exclude competition.” Microsoft, 253

F.3d at 51. Direct evidence here shows that SVPs continue to buy ads on Google despite

practices, including visibility limitations, that inhibit their ability to use Google to acquire

customers because they have no meaningful alternative. Infra at 19-20; Joint Brief at 27-29.

There is also indirect evidence of Google’s monopoly power, including high market shares and

barriers to entry. Infra at 18-19; Joint Brief at 24-27.

        Evidence of Google’s intent “may help the court to interpret facts and to predict

consequences.” Microsoft, 253 F.3d at 59; SJ Decision at 22. “When courts consider the ‘intent’

of a firm charged with monopolization, they look not to whether the firm intended to achieve or

maintain a monopoly, but to whether the underlying purpose of the firm’s conduct was to enable

the firm to compete more effectively.” State of Ill., ex rel. Burris v. Panhandle E. Pipe Line Co.,

935 F.2d 1469, 1481 (7th Cir. 1991). The evidence here shows that Google’s SA360 conduct

was intended to harm competition and lacks any procompetitive justification. SFOF ¶¶ 273-80.

        Finally, the Court’s summary judgment ruling has, of course, shaped the trial and these

post-trial submissions. The Court granted summary judgment on Plaintiff States’ claims insofar

as they allege “Google’s conduct directed at SVPs” is a discrete type of anticompetitive conduct.

SJ Decision at 53. Accordingly, those allegations have not been pursued. 2

        Evidence from SVP witnesses is, however, relevant for other purposes. Google agrees



2
  Were the Court to rule that search advertising is an appropriate advertising market, that would
result, by definition, in SVPs being classified as competitors to Google in that market. This
would be contrary to the Court’s view in its Summary Judgment Decision that SVPs are out-of-
market participants. See SJ Decision at 46-49.

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that SVP evidence is permissible for proving market definitions and monopoly power. Dkt. 776

at 3. And as this Court has recognized, Google’s conduct with respect to SVPs can be a

“downstream effect of Google’s distribution agreements,” as those agreements operate to

“depress[] Google’s rivals’ ability to compete for general search users.” SJ Decision at 54. The

evidence here proves those anticompetitive downstream effects. Infra at 31-32.

II.    PLAINTIFF STATES HAVE DEFINED RELEVANT MARKETS AND PROVEN
       GOOGLE’S MONOPOLY POWER IN THOSE MARKETS

       Plaintiffs States have proven four relevant product markets. They are the user-side

general search services market and three nested advertiser-side markets: general search text

advertising, general search advertising and search advertising.

       A.      General Search Services is a Relevant User-Side Product Market

       General search services is a relevant product market for the reasons described in the Joint

Brief at pages 11-16. The breadth of general search is illustrated by the fact that even when a

user enters a search for a particular vertical, on average more than half of the results displayed in

response by Google contain information from outside the requested commercial segment. SFOF

¶ 16. This is a clear indication that Google itself believes that users are looking for a broad range

of information. JFOF ¶ 331. By contrast, searches on SVPs generally only provide results from

a limited number of verticals. SFOF ¶ 17.

       B.      General Search Advertising is a Relevant Advertiser-Side Product Market

       On the advertiser side, the Joint Brief also explains why general search text advertising

and search advertising are relevant product markets. Joint Brief at 16-23. In addition, Plaintiff

States have proven that general search advertising is a relevant product market that is broader

than the general search text advertising market and narrower than search advertising. See FTC v.

IQVIA Holdings Inc., 2024 WL 81232, at *24 (S.D.N.Y. Jan. 8, 2024) (“[A] broad product


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market may contain smaller markets which themselves constitute relevant product markets for

antitrust purposes”) (cleaned up).

          General search advertising includes all ads that appear on a GSE results page in response

to a user query, which overwhelmingly consists of text ads and product listing ads (“PLAs”). In

2019,         of Google search spending was on text ads and about         on PLAs. 3 SFOF ¶¶ 5, 7.

In addition, text ads account for over        of Google search ad revenue in all advertising

categories except retail/shopping (which is only         of total search ad spend). Id. ¶¶ 6-7.

          General search ads differ from other digital ads, such as display and social ads, for the

same reasons that general search text ads and search ads differ from those other ad types. 4 Joint

Brief at 16-19. General search advertising is a relevant market because all ads on a GSE’s

results page reach users who are considering the broad range of choices and destinations

provided by a GSE. Infra at 9-12. Thus, a monopolist could raise prices of general search

advertising above competitive levels without enough advertisers moving to a competitor to

render the price increase unprofitable. This is shown by direct evidence of advertiser

understanding of the unique mindset of consumers reached by general search ads. Infra at 12-

13. It is also proven by “practical indicia” of business operations that act as “evidentiary proxies

for direct proof of substitutability,” Sysco, 113 F. Supp. 3d at 27, including the limited utility of



3
    The other types of general search ads are hotel ads and local services ads. SFOF ¶ 7 n.3.
4
  General search ads are not reasonable substitutes for ads on social media sites, which push an
ad (say for golf shorts) to a viewer otherwise engaged in a social platform who may or may not
be interested in that product. SFOF ¶ 25. General search ads, on the other hand, pull a user into
an advertiser website only after that user expresses specific interest in the product by entering a
relevant search query. Id. ¶ 26. While there was some testimony about ads on social media sites
that respond to a user query, such ads have infinitesimal usage, are not a “viable alternative” to
general search ads, and thus have no economic relevance for purposes of defining relevant
antitrust markets. JFOF ¶¶ 584-85; Tronox, 332 F. Supp. 3d at 215.

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SVP ads to most advertisers, differences in how GSE ads and SVP search ads operate, separate

purchasing channels, and advertisers’ strategies in allocating their budgets across multiple ad

channels. Infra at 14-18.

               1.     Advertisers consistently view general search ads and SVP search ads
                      as non-substitutable

       Advertisers buy ads to reach users in particular consumer mindsets. SFOF ¶¶ 22-32.

Advertisers understand that GSE users are more likely to be in a research or consideration

mindset, whereas SVP users are more likely to be in a purchase mindset. Consequently,

advertisers consistently do not view general search ads and SVP search ads as reasonable

substitutes. See FTC v. Hackensack Meridian Health, Inc., 2021 WL 4145062, at *19 (D.N.J.

Aug. 4, 2021) aff’d, 30 F.4th 160 (3d Cir. 2022) (relying on customer views to determine which

products compete).

                      a. Advertisers view general search ads as unique because they reach
                         users expressing their real-time intent and seeking a wide range of
                         choices

       Advertisers use the “marketing funnel” to understand different consumer mindsets and

reach these audiences effectively. Joint Brief at 17-18; SFOF ¶ 23. Google concedes the

continued use of the marketing funnel, JFOF ¶¶ 448, 452, which captures the enduring

psychological axiom that a consumer must first be aware of a product, then considers different

places to purchase the product, and finally makes the purchase. SFOF ¶ 23.

       Advertiser witnesses consistently testified that different media channels reach different

consumer mindsets, and thus complement each other to bolster the success of an overall

marketing campaign. Id. ¶ 24. As a result, not a single advertiser witness testified that general

search ads and SVP search ads are reasonable substitutes. Id. ¶¶ 22, 28-29, 32. While there is

some evidence of advertisers moving ad spend between channels, “the fact that an agency might

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shift money around during a campaign does not establish that these alternative channels are

substitutes for the distinct features that [the at-issue] advertising provides.” IQVIA, 2024 WL

81232, at *17. Rather, advertisers balance their ad investments “over time across the purchase

funnel so that [they have a] continuous flow of consumers, from awareness to consideration to

purchase.” SFOF ¶ 24.

       General search ads are distinct in their ability to reach users in an active research mindset.

Only general search ads can reach users seeking the unique breadth of sources and choices found

on a GSE, in contrast to the narrower range of information on an SVP. Id. ¶¶ 22, 28-31; JFOF ¶¶

325-26. This unique “one-stop shop” nature of GSEs provides a distinct benefit to users. SFOF

¶¶ 15-20; JFOF ¶¶ 327-33. GSEs are attractive to advertisers seeking to reach users in the

mindset of actively researching a topic without having determined a specific purchase

destination. SFOF ¶¶ 22, 26-31. As Google itself says: “Google is where people research.” Id.

¶ 31. Dr. Raghavan of Google testified that users “who in any way intend to shop at Amazon

might come to Google and do a lot of research on Google before they [shop at Amazon],” and

Google internal studies likewise conclude that “69% of people start with Google when going to

retail sites and apps on mobile.” Id.

       It is no coincidence firms that provide GSEs—which provides distinct user services in a

relevant product market (Joint Brief at 11-16)—also supply a distinct form of advertising. GSE

users often have not yet decided whether to purchase a product or, even if they have a product in

mind, have not decided on a specific brand. SFOF ¶¶ 28-31, 36-37. These users are therefore

particularly open to influence by sellers, making their attention extremely valuable to advertisers.

Id. ¶¶ 9, 36-38. Only general search ads satisfy this distinct advertiser demand by reaching

consumers that are actively interested in buying a product, yet open to purchasing from either


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that specific advertiser or possibly one of its competitors. Id. ¶¶ 8-9, 26-29, 37-38; Sysco, 113 F.

Supp. 3d at 25 (considering whether a product serves a distinct demand to determine reasonable

substitutes). In other words, the distinct mindset of GSE users both attracts advertisers to buy

general search ads and distinguishes them from other ad types.

       General search advertising is also distinct in its ability to drive new customer acquisition

precisely because GSE users are open-minded and interested in a breadth of information. See

SFOF ¶¶ 8-9, 15-16, 28, 37, 44. Even large, well-known companies like                Booking, and

Expedia rely heavily on general search ads to acquire new customers. Id. ¶¶ 8, 44 (Booking

executive: Google is “the exclusive, dominant ... pool of high-intent, new customers for

[Booking] to find”); (Expedia executive: advertising on Google is “essential” because “[t]here’s

not an opportunity to go buy that many high-intent consumers to introduce them to your product

anywhere”); (Amazon executive: general search ads are “highly incremental for early lifecycle

customers”).

       Advertisers also recognize that all general search ads serve the common and essential

purpose of occupying space on a GSE results page at the moment it is viewed by a user with this

distinct, persuadable mindset, which in turn leads to more “click-through” and “a higher number

of purchases.” Id. ¶¶ 8, 10-11. In fact, Google promotes and sells text ads and PLAs by

convincing advertisers that they need to “own[] the SERP” with multiple ads in order to get

“more potential outcomes in [their] favor.” Id. ¶ 11.

       The significant use of navigational queries on GSEs further illustrates the distinct value

of general search ads. Navigational queries are those for which a user intends (initially) to travel

from a GSE to a specific website—e.g., a user types “Amazon” intending to reach Amazon’s

website. Id. ¶ 33. Google commonly sells ads on navigational queries to both the queried


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company and that company’s competitors. Id. ¶ 34. Those ads for competitors are often

effective:      of users shown a competitor’s ad after entering a navigational query click on that

ad, indicating that many GSE users who query a specific company are still open to consider and

research other destinations. Id. ¶ 37. As a result, navigational queries generate significant ad

revenues for Google, and advertisers testified that they must buy general search ads for their own

brand name to avoid being “conquested” by competitors buying ads on their brand name. Id. ¶¶

34-36. By contrast, navigational queries simply do not exist for SVP search ads because they do

not navigate to external sites. Id. ¶ 38.

                       b. Advertisers understand that SVP users are closer to purchase and
                          less open to research and consideration than GSE users

       SVPs sell ads that, like general search ads, are generated in response to a user query. But

advertisers understand a user querying on an SVP is generally closer to making a purchase than a

user querying on a GSE. This is because SVPs typically allow users to complete a purchase on

their site, while GSEs do not. Id. ¶¶ 28-32.

       Advertisers allocate money based on this distinction. For example, Mr. Lowcock from ad

agency IPG testified that on “a general search engine ... [the user] might be trying to determine

like what I do next, do I need to go buy it, do I need to learn more about [it]” but “[users on] a

retailer website [have a high intent to] make a transaction ... they know what they’re looking for,

they intend to buy that product.” Tr. 3860:25-3861:5, 3866:14-20 (Lowcock). Likewise, Mr.

James from Amazon testified that, compared to other kinds of searches, a user querying on

Amazon is “more interested in making a retail purchase on the Amazon store and therefore their

query would be more formulated towards purchase intent.” SFOF ¶ 20. Accordingly,

advertisers often use general search ads to “drive [users] to the advertiser’s own website or a

destination the advertiser determined,” including their own website, a physical location, or an

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“ecommerce” SVP like Amazon. Id. ¶ 29.

       That SVPs themselves spend billions of dollars to advertise on Google further proves that

SVP search ads and general search ads are complements, not substitutes. Id. ¶¶ 42-43; see SMS

Sys. Maint. Servs., Inc. v. Digital Equip. Corp., 188 F.3d 11, 23 (1st Cir. 1999) (explaining the

importance of customers’ “actual behavior” in defining markets). SVPs advertise on GSEs

because users often visit Google to learn about a product and then, research in hand, navigate to

SVPs like Amazon to buy the product. Consistent advertiser testimony and evidence show that

SVPs rely on general search ads to drive consumers from consideration on GSEs to purchase on

SVPs. SFOF ¶¶ 28-29, 44-45. For example, ad agency Tinuiti explained in a client presentation

that general search ads “circulate purchase intent” to SVPs and so are higher than SVP search

ads in the advertising funnel. Id. ¶ 29.

       If, as Google contends, users view Google and Amazon as substitutes, then loyal Amazon

shoppers would use Google less and Amazon more. The truth, however, is the opposite: a

Google study found that Amazon Prime members are more likely to use Google search. Id. ¶ 31.

Google’s own documents describe Amazon ads as occupying the lowest part of the funnel and

stress that general search ads, in contrast, can “focus on influencing consideration and driving

longer-term brand affinity.” Id. ¶ 30. Dr. Israel’s overlap analysis illustrates this complementary

relationship between Google ads and Amazon ads, i.e., a user enters a query on Google, clicks on

an ad purchased by Amazon that directs the user to Amazon’s website, and then continues to

search and view ads on Amazon. Id. ¶ 21.

       The evidence thus shows that general search ads and SVP search ads reach consumers at

different mindsets (i.e., at different stages of the funnel) and are not reasonable substitutes.

United States v. Bazaarvoice, 2014 WL 203966, at *24 (N.D. Cal. Jan. 8, 2014) (“Products that


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influence consumers immediately prior to making the purchase decision ... are fundamentally

different than products that attempt to influence consumer behavior at other times”).

           2. General search ads are useful to more advertisers than SVP search ads

       General search ads are useful to virtually any type of digital advertiser; SVP search ads

are not. SFOF ¶¶ 39-41. For many advertisers, SVP search ads are not even a relevant product

because there is no major SVP available to advertise on. Indeed, over 60% of Google’s search

ad revenue comes from advertisers in verticals without a major SVP. See id. ¶ 42.

       By contrast, any advertiser can use general search text ads, which constitute the vast

majority of general search advertising. Id. ¶¶ 5-6, 39. And general search shopping ads require

only that an advertiser sell the type of product or service advertised, without any restrictions on

the way it is sold. Id. ¶ 49. Thus, any advertiser selling a physical product can buy a PLA. Id.

Consequently, major ad agencies recommend general search ads for all their clients. Id. ¶ 39.

       Even for advertisers in verticals where an SVP is available, there are further practical

limitations to buying an SVP search ad. Most SVPs require that an advertiser sell a product or

service on the SVP’s own site in order to advertise there. Id. ¶ 49. SVPs do not buy ads from

other SVPs that they consider competitors, whereas SVPs are the largest buyers of general search

ads because Google is not a competing seller. Id. ¶¶ 42-43, 46-47. These varying business

considerations further evidence distinct product markets. McWane, Inc. v. FTC, 783 F.3d 814,

828-29 (11th Cir. 2015) (domestic and foreign pipe-fitting are functionally equivalent, but still

constitute separate markets because some customers only have domestic projects).

               3.      General search ads and SVP search ads have different features,
                       purchasing methods, and pricing

       General search ads also differ from SVP search ads in terms of functionality, advertiser




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buying practices, and price, further demonstrating the distinct demand for general search ads.

                       a. General search ads and SVP search ads have distinct features and
                          are not functionally interchangeable

       The majority of general search ads are text ads and, as the Joint Brief explains, text ads

and SVP search ads are not functionally interchangeable. Joint Brief at 21; JFOF ¶ 479. That

distinction also applies to PLAs and SVP search ads. Like text ads, PLAs click-out, meaning

they can drive users from a GSE to an advertiser’s website or physical business, and the GSE

does not collect a fee for subsequent purchases. SFOF ¶¶ 44, 51-57. Some retailers prefer

advertising that can drive such in-store traffic because, as Google witnesses testified, in-store

customers tend to purchase more. Id. ¶ 55. In contrast, SVP search ads only click-in, meaning

they lead users to complete a purchase on the SVP’s website. Mr. Lowcock explained that when

a user completes a transaction on an SVP, the advertiser “lose[s] access to the data and [] lose[s]

access to [its] own customer.” Id. ¶ 53. Google, Microsoft, and advertisers recognize the

significance of this customer conversion data. For example, Google’s Jason Krueger testified

that advertisers considered customer conversion data to be the “source of truth” for optimizing ad

spend. Id. ¶ 167. Thus, advertisers consider PLAs to have distinct advantages compared to SVP

search ads because Google does not act as a middleman in completing transactions. Id. ¶¶ 50-58.

       These differences in features and functions show the limited substitutability between

general search ads and SVP search ads. FTC v. Wilh. Wilhelmsen Holding ASA, 341 F. Supp. 3d

27, 52-57 (D.D.C. 2018) (upholding market for customers with “distinct needs who require ...

both the products and value-added services”); Sysco, 113 F. Supp. 3d at 29 (same); IQVIA, 2024

WL 81232, at *14-16 (finding distinct product markets because “data that advertisers can glean

from advertising via [different channels] is ... more limited” than the at-issue ad type).




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                       b. Advertisers, ad agencies, and ad buying tools are structured to
                          purchase general search ads and SVP search ads as distinct
                          channels

       The evidence also shows that advertisers employ distinct teams with discrete budgets to

purchase general search ads and SVP search ads, as do SEM tool provider Skai and global ad

agency Dentsu. SFOF ¶¶ 12-13. Advertising witnesses explained that their advertiser customers

set “a specific budget per channel” (e.g., general search advertising, retail SVP search ads,

social) and shift spend more frequently within a specific channel than between channels. Id. ¶

13. This demonstrates that general search ads and SVP search ads are widely recognized in the

industry as distinct products in distinct product markets. See IQVIA, 2024 WL 81232, at *20 (ad

agencies using separate teams to purchase different types of digital ads showed industry

recognition of separate markets).

                       c. General search ads and SVP search ads are priced differently

       General search ads and SVP search ads have “distinct prices,” which further supports

distinct advertiser demand. Sysco, 113 F. Supp. 3d at 27. Platforms typically price ads as cost-

per-click or cost-per-thousand impressions. SFOF ¶ 59. The cost-per-click of general search ads

and retail SVP search ads differ dramatically: Skai calculated that the cost-per-click of Amazon

ads was five times greater than general search ads in the shopping vertical. Id. ¶ 60. Dr. Israel

conceded that, under the cost-per-thousand impression metric, there were “very large”

differences in prices of general search text ads, Amazon ads, and Instagram ads. Id. ¶ 60.

       Faced with these disparate prices, Dr. Israel claimed return on investment (“ROI”), not

price, drives advertiser substitution. Id. ¶ 61. But, as advertisers and Google concluded,




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advertisers cannot accurately compare ROI across channels. Id. ¶¶ 61-62. 5 The evidence shows

advertisers do not—and indeed cannot—substitute across channels based on cross-channel ROI

comparisons. Id. ¶¶ 61-65. While ROI is useful, it does not supplant prices in defining

advertising markets. See IQVIA, 2024 WL 81232, at *16-17, 23 (relying on cost-per-thousand

impression prices and rejecting defendants’ argument that digital advertisers substituted across

channels based on ROI).

       General search ads and SVP search ads exhibit different prices by any metric. 6 If they

were reasonable substitutes, advertisers would shift spend between the two in response to these

disparate prices. But advertisers do not. Despite general search ads increasing in price year after

year, Mr. Lowcock continues to recommend that his clients buy general search ads and he would

never recommend his clients use SVP search ads “in place of general search ads.” SFOF ¶¶ 9,

28. Notably, Google has not conducted any ordinary course empirical analyses of “advertisers

switching their spend between Google search ads and Amazon.” Id. ¶ 31. These pricing

differences and advertiser behavior reflect low cross-elasticity of advertiser demand for these

types of ads, again supporting distinct markets. See United States v. H&R Block, Inc., 833 F.

Supp. 2d 36, 55-56 (D.D.C. 2011) (despite do-it-yourself and assisted tax preparation services

targeting the same customers, “significant price disparities” showed lack of price competition




5
 Dr. Israel conceded that ROI is difficult to calculate, that he did not calculate the ROI for any
digital ad type, and that ROI is not dispositive in any antitrust market analysis. SFOF ¶ 63.
6
 Even if ROI proxied for price (which it does not), general search ads and SVP search ads often
have widely divergent ROIs. SFOF ¶ 64. According to advertiser comparisons, general search
ads have significantly different ROIs than all other digital ad types (including Amazon ads)—
and yet advertisers continue to buy both. Id.; PSX00973 at -037. There is also evidence that
advertisers buy significantly more general search ads even though they have lower ROI, which
shows that ROI does not dictate their ad purchasing decisions. SFOF ¶ 64.

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and supported distinct markets). The best market definition evidence is what advertisers said:

despite rising costs, they keep buying general search ads. SFOF ¶¶ 9, 28, 31, 98-101.

                                                ***

          The evidence is overwhelming that advertisers consistently do not “view Amazon ads as

substitutes for shopping ads on general search engines” (Lowcock – IPG); Google ads are “the

exclusive, dominant ... pool of high-intent, new customers” (Dijk – Booking); it is “essential” to

advertise on Google (Hurst – Expedia); and thus, as a “practical matter [they] cannot stop”

purchasing Google general search ads (Stein – Angi). Id. ¶¶ 2, 8, 99. These advertisers so

testified despite the rising costs of general search ads, which belies any cross-elasticity of

demand between general search ads and other digital ads. Id. ¶¶ 9, 98-101; Surescripts, 665 F.

Supp. 3d at 42 (adopting market definition where customer regarded product “as a must-have

service” and thus “there would be little sensitivity to price changes”); Bazaarvoice, 2014 WL

203966, at *66 (ecommerce service is a relevant market where witnesses testified that buyers

“had to have it”). “[T]he consistent testimony and representations of industry participants” is

clear: no other ad type is a reasonable substitute for general search ads. Tronox, 332 F. Supp. 3d

at 202.

          C.     Google has Monopoly Power in Each of the Relevant Markets

          The Joint Brief explains why Google has monopoly power in the general search services,

general search text advertising, and search advertising markets. Joint Brief at 23-29.

          Google also has monopoly power in the general search advertising market. Google’s

share in this market exceeded 90% in 2021, and competitor entry over the last decade has not

eroded this market share. SFOF ¶¶ 68-69. Further, entry in this market is constrained by all of

the same barriers to enter the general search services market because a firm must provide general

search services in order to sell general search advertising. Id. ¶ 69; Joint Brief at 24-27.
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Google’s dominant share and the insurmountable entry barriers are sufficient to prove Google’s

monopoly power.

       There is also direct evidence of Google’s monopoly power in the general search

advertising market, including that Google has generated persistently high profits in its search

advertising business, has captured significant surplus from its distribution deals, and has

experienced little to no market response to search quality reductions and advertising price

increases. Tr. 7049:3-23 (Baker); Joint Brief at 27-29.

       Google’s conduct towards SVPs is further direct evidence of its monopoly power. SVPs

rely on Google for user traffic and to attract new customers, and SVPs are some of Google’s

largest advertisers (including the top five in 2019), generating billions in annual revenue for

Google. SFOF ¶¶ 43, 91, 93, 95. Yet, Google systematically increased the customer acquisition

costs of SVPs (and other advertisers) through actions that diminish the visibility of the traditional

blue links, thus compelling SVPs to buy more general search ads to maintain visibility. Id. ¶¶

76-87. For example, one SVP increased its spending on Google advertising nearly tenfold

between 2015 and 2019 and still received fewer visits. Id. ¶ 85.

       Despite these increasing costs of acquiring traffic from Google, SVPs continue to buy ads

on Google because they have no reasonable alternative. Id. ¶¶ 101-02, 106-10. Mr. Dijk of

Booking testified that his company does “not have a choice but to work with Google.” Id. ¶ 101.

So too for Expedia. Id. Notably, SVPs do not believe that Bing is a viable alternate provider of

general search ads. Id. ¶¶ 102-08. Mr. Dijk explained that “even if Bing would be far cheaper,

it would really not work for us, because we really don’t get the scale that we need.” Id. ¶ 102.

Another executive explained that his company continued to buy Google text ads because “there’s

not a replacement for the volume and intent of consumers.” Id.


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       That demand for Google search ads remains high, in the face of increasing customer

acquisition costs and decreasing visibility, is direct evidence of Google’s monopoly power in the

general search advertising market.

III.   GOOGLE’S DISTRIBUTION CONTRACTS FACILITATE TWO ADDITIONAL
       TYPES OF COMPETITIVE HARM

       A.      Google’s SA360 Conduct Harms Competition

       Google operates its SEM tool, SA360, to further entrench its search ad monopolies,

which are already insulated from competition by Google’s exclusionary distribution contracts.

       Google’s monopoly power allows it to harm its SA360 customers without incurring the

cost of losing those customers to other SEM or native tools. SA360 is “sticky” because it is able

to provide greater support for Google Ads features than competing SEM tools and advertisers

must advertise on Google due to its market dominance, which tends to keep advertisers on

SA360. Id. ¶¶ 117, 150, 260-61. And switching to other SEM tools that offer Microsoft auction-

time bidding or using multiple SEM tools or native tools concurrently is costly, inefficient, and

undermines the principal value of an SEM tool as a unified platform to manage all search ad

campaigns. Id. ¶¶ 125-26, 154-56, 261. Google’s SA360 conduct is therefore like “many

anticompetitive actions [that] are possible or effective only if taken by a firm that dominates its

smaller rivals.” Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263, 274-75 (2d Cir. 1979).

       Ownership of SA360 allows Google to limit rivals in ways that the distribution contracts

alone cannot. Google’s distribution contracts are effective at excluding competition because

they cover 50% of U.S. general search queries. JFOF ¶ 954. The Google default on Google’s

Chrome browser accounts for another 20% of U.S. general search queries. Id. ¶ 968. But

Google’s distribution contracts do not (and cannot) cover queries on Microsoft’s Edge browser,

which is one of the few remaining browsers without a Google default. Id. ¶ 32. Because SA360

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facilitates the placement of general search ads on all browsers, including Edge, Google can

directly impede the ability of advertisers to run efficient ad campaigns on Bing and other GSE

rivals that use Microsoft Ads, like DuckDuckGo and Yahoo!. SFOF ¶¶ 122-23, 263.

       The distribution contracts make advertising on the Google search engine indispensable,

which allows Google to avoid losing advertising revenue when it degrades SA360’s support for

advertising on rival GSEs despite the harm to Google’s own customers. Id. ¶¶ 145-47. SA360

has an 83% share in the SEM tool market, making it a “choke point” on Microsoft’s search ads

business. Id. ¶¶ 151-52. Google’s dominance in search advertising markets and among SEM

tool providers makes advertisers reluctant to leave SA360, magnifying the anticompetitive

impact of Google’s delayed support for Microsoft features. Id. ¶¶ 147, 151, 275; (“Google’s

dominant search advertising position means that there will inherently be less advertiser demand

for Bing features”).

               1.      Google promised neutrality but instead favored its own profits

       After Google acquired the SEM tool now called SA360, it understood that advertisers

would be concerned that Google would favor its own ads over those of competitors. Id. ¶¶ 122,

139, 142, 149. Such favoritism would be antithetical to a tool designed to empower advertisers

to choose the best advertising available to them. Id. ¶¶ 125-26.

       Advertisers were right to be concerned that Google faced a conflict of interest between

the best interest of Google and the best interests of advertisers. The financial incentives are

starkly clear. Id. ¶¶ 134-43. Google makes over        times more profit when an advertiser uses

SA360 to buy a Google ad rather than a non-Google ad, and so is highly incentivized to use

SA360 to steer advertisers to buy Google ads. Id. ¶¶ 141-43. Google has done just this,

operating SA360 to provide “day one” support for Google Ads features while delaying or

refusing to support comparable Microsoft Ads features. Id. ¶¶ 148-49.
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       SA360 is an essential way for Google’s rivals to attract customers because advertisers

that use SEM tools are the most likely to buy both Google and Microsoft ads. Id. ¶¶ 125-30

      of SA360 spend is from customers with both Google and Microsoft ad campaigns). By

degrading SA360 support for non-Google search engines, Google dissuades advertisers from

spending on those search engines and makes ad campaigns on those search engines less efficient,

thereby hindering Google’s rivals’ ability to compete and protecting Google’s monopolies from

erosion. Id. ¶¶ 263-72. This forced advantage for Google Ads on SA360 drives billions of

dollars in revenue to Google’s search ads business. Id. ¶¶ 194, 266 (Google auction-time

bidding on SA360 expected to “drive $1-2 billion (USD) for Google within 2 years of launch”).

               2.     Google limits competition by refusing support for Microsoft auction-
                      time bidding

       Advertisers use SEM tools to manage search ad campaigns on multiple GSEs, such as

Google, Bing, DuckDuckGo, or Yahoo!. Id. ¶¶ 121-23. SEM tools are particularly useful for

large advertisers and ad agencies, which run “hundreds of campaigns” with “thousands of

keywords” across multiple GSEs. Id. ¶ 127. These large customers represent over          of

SA360’s business. Id. ¶ 128.

       Advertisers that use SEM tools want consistent support for advertising on different GSEs

(also called “feature parity”) because any differences introduce friction and cause cross-engine

campaign management to be more difficult and less efficient. Id. ¶ 131 (“The more similar an

advertiser can make their campaigns … in Google through SA360 to how they participate on

Bing through SA360, the more efficient it is”). Google’s own documents recognize that SA360

customers want feature parity. Id. ¶ 132 (“Basic feature parity with Microsoft Ads is commonly

requested by clients”). Independent SEM tool providers, like Skai, Marin, and Adobe, try to




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serve their customers by providing consistent cross-engine support for the most popular and

valuable features. Id. ¶ 133.

       Auction-time bidding is the most salient example of SA360 supporting a Google Ads

feature while refusing to support the same feature for Microsoft Ads. Auction-time bidding

refreshes conversion data and user signals in real-time with each user query, and then sets new,

optimized ad auction bids for each of the billions of auctions per day. Id. ¶¶ 170-71. Auction-

time bidding is far superior to intraday bidding, the alternate form of autobidding that only

updates signals and bids a few times per day. Id. ¶¶ 169, 172. Amit Varia, a Google Senior

Product Manager responsible for managing the SA360 product, described auction-time bidding

as SA360’s “most critical” feature. Id. ¶ 173. SA360 support for auction-time bidding is thus

important both for advertisers and for GSEs, which rely on SEM tools (and particularly SA360)

to allow advertisers to run efficient ad campaigns on the GSE’s site. Id. ¶¶ 150, 263-72.

       Both the Google Ads and Microsoft Ads native tools supported auction-time bidding

since 2016. Id. ¶ 175. SEM tool Skai integrated both tools’ auction-time bidding by 2020,

having recognized that it is an “impactful feature” commonly requested by customers. Id. ¶¶

179-82. Skai integrated Google’s auction-time bidding first (in 2019), which “simplified the

process” of integrating Microsoft’s auction-time bidding a year later. Id. ¶¶ 180-81. SEM tool

providers Adobe and Marin also partially supported both Google and Microsoft auction-time

bidding by 2022. Id. ¶ 184.

       By contrast, SA360 released its full integration of Google auction-time bidding in 2019

(like Skai), but, four years later, has still not done so for Microsoft Ads. Id. ¶¶ 186-91, 241.

Thus, as of today, SA360 allows advertisers to use auction-time bidding to set bids and place ads

on Google’s search engine, but only allows advertisers to use the inferior intraday bidding to set


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bids and place ads on all non-Google GSEs. Id. ¶ 190.

       Google ostensibly has an internal project called Project Byx to develop SA360 support

for Microsoft auction-time bidding. Id. ¶ 216. But Google decided years ago to “defer” that

project while maintaining a veneer of progress, as stated explicitly in a 2021 internal Google

document recommending that SA360 “slow-roll Byx by doing some minimal work to keep it

ticking over.” Id. ¶ 243. Over a year ago at summary judgment, Google vaguely claimed that

SA360 was “in the process of building and testing automated bidding features for Microsoft

Ads” (Dkt. 435, Ex. 80 ¶ 7), but at trial, Google introduced no direct evidence of the status of

Project Byx or when it would be completed. SFOF ¶ 242. The limited secondhand testimony

was contradictory, with one employee testifying that testing was in a “limited alpha” phase and

another saying it was in a broader “beta” phase. Id. There is thus no reliable evidence of when

(if ever) SA360 will support Microsoft auction-time bidding.

                       a. Google knows that advertisers will be better off using Microsoft’s
                          auction-time bidding than using intraday bidding

       There is no serious doubt that SA360 users will achieve better results using auction-time

bidding with Microsoft Ads rather than intraday bidding. Google admits as much. Ryan

Krueger of Google wrote that he was “not terribly surprised microsoft ATB [auction-time

bidding] is performing better than intraday (for same reason google ATB does).” Id. ¶ 204.

Indeed, no witness testified that intraday bidding would be as efficient as auction-time bidding

for a purchase of Microsoft ads.

       The record demonstrates that auction-time bidding does in fact perform far better than

intraday bidding. When Google released SA360 support for Google auction-time bidding in

September 2019, its beta testing had already shown that use of “SA360 auction-time bidding” by

a “typical advertiser” resulted in a 15-30% uplift in conversions on Google Ads campaigns. Id. ¶

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191. Google’s testing also found a “+      spend” increase on SA360 by advertisers using

Google auction-time bidding. Id. ¶ 194. Within months, 80% of SA360 customers had adopted

Google auction-time bidding, and the SA360 sales team listed “Auction time bidding for MSFT”

as a “Top 5” requested Microsoft feature. Id. ¶¶ 197-98.

       In May 2020, internal Google documents again listed “Auction-time bidding … [f]or

MSFT advertising” as a top requested feature by its SA360 advertisers, and in September 2020

Google employees observed that Google auction-time bidding was providing “consistently

strong performance” and “paying rich dividends for our customers & our business.” Id. ¶¶ 199-

201. In late 2020, Google determined that use of auction-time bidding with SA360 bid strategies

caused a       increase in all conversions,” and two large customers told Google that they were

seeing “better performance” and “more conversions” when they used auction-time bidding on the

Microsoft native tool. Id. ¶¶ 202-03. At the same time, other major customers, including Home

Depot and ad agency Dentsu, repeatedly stressed to Google the importance of broad Microsoft

Ads feature parity, including for auction-time bidding. Id. ¶ 206. Home Depot’s use of

Microsoft auction-time bidding on Skai “dramatically improved performance” and doubled

return on ad spend. Id. ¶ 183. By 2021, an internal Google feature tracking spreadsheet listed

“Auction time bidding for MSFT” as the highest priority, defined as requested “consistently from

sales/customers.” Id. ¶ 205.

       In light of these facts, Google cannot credibly claim that there was insufficient advertiser

interest to justify the planned conversion sharing test (which Google knew would yield further

evidence of advertiser attitudes). Id. ¶ 274. Google has long known that its customers want

support for Microsoft Ads features on SA360 generally and for Microsoft auction-time bidding

specifically. Id. Google also knows that auction-time bidding is highly effectively on both


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Google Ads and Microsoft Ads and will undoubtedly outperform intraday bidding. Id. In fact,

any depressed demand is a result of Google’s other exclusionary conduct (the distribution

contracts), which is not a defense. Id. ¶ 275.

                       b. Google’s refusal to support Microsoft auction-time bidding
                          intentionally harms competition

       Google’s refusal to support Microsoft auction-time bidding on SA360 is intended to harm

Microsoft and Google’s other GSE rivals. In late 2019, teams at Google and Microsoft

developed a protocol for testing the sharing of SA360’s Floodlight conversion data with

Microsoft Ads, which was a “prerequisite for future integrations such as auction-time bidding.”

Id. ¶ 210. The proposal called for an initial phase that would require “little, if any, engineering

work,” followed by an “engineering build out” phase. Id. The Google team was initially eager

to begin the testing, writing that they were “generally aligned with the approach” and “looking

forward to getting this test off the ground!” Id. ¶ 211. The testing was then included on an

internal product roadmap for the first half of 2020 after rounds of cost cutting, approval by sales

leadership, and executive review. Id. ¶ 216.

       Then senior Google executives stepped in. In December 2019, Joan Braddi (Google Vice

President of Partnerships) was tasked with responding to Microsoft’s request for development of

Microsoft Ads features on SA360, even though she admitted that she “didn’t know what SA360

was” or the “purpose of the SA360 tool,” was “not familiar [with] how auction-time bidding

actually works,” and did not review SA360 product development roadmaps. Id. ¶ 219.

       Unburdened by knowledge, Ms. Braddi promptly decided that Google should “push

back” on Microsoft’s request for feature development. Id. ¶ 222. Writing to an internal Google

team, she did not cite technical or resource constraints, but rather depicted SA360’s primary

purpose as serving Google, not advertisers’ interest in using SA360 to buy ads from multiple

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GSEs: “Google builds our tools to assist advertisers with their advertising campaigns,

measurement, optimization primarily on Google’s platform; and in some cases these tools can

work cross platform but may not be optimized across all platforms.” Id. (emphasis added).

Likewise, a briefing memo that Ms. Braddi helped prepare states that Google planned to “decline

[] the SA360 … requests for parity / feature development” because it was “not aligned with

[Google’s] product or business goals.” Id. ¶ 223.

       In January 2020, Google slammed on the brakes, instructing Microsoft not to go forward

with the recruitment of advertisers for the planned test. In March 2020, Google stopped the

process entirely, telling Microsoft that it had “elected to defer running an MSFT Auction-time

Autobidding test,” citing a lack of customer demand. Id. ¶ 230. By this time, Google already

knew that auction-time bidding was highly effective and popular. Supra at 24-25. That evidence

would continue to grow in coming months, including the May 2020 Google presentation listing

“Auction-time bidding … [f]or MSFT advertising” as a top requested feature. SFOF ¶ 199. Yet,

in protracted negotiations starting in May 2020, Ms. Braddi raised objection after objection. Id.

¶¶ 234-40. For example, in return for Google agreeing to use “commercially reasonable efforts”

to develop auction-time bidding and several other Microsoft Ads features over two years (a

deadline that has long since passed), Braddi demanded that Microsoft forfeit the ability to seek

support for new features regardless of their importance to advertisers. Id. ¶ 235.

       Ms. Braddi also rejected two critical components of SA360’s auction-time bidding

integration, i.e., that Floodlight data is passed to the Microsoft Ads native tool and that SA360

bid strategies are enabled. Id. ¶¶ 236-38. These components are essential to SA360’s integration

of Google auction-time bidding, and Google and Microsoft employees understood since late

2019 that they would also be part of the Microsoft auction-time bidding integration. Id. ¶ 237.


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Not surprisingly, the discussions soon fell apart, even though they were subject to an executive-

level escalation process including Microsoft CEO Mr. Nadella. Id. ¶¶ 232, 239, 240.

       SA360’s refusal to move forward with Microsoft auction-time bidding was not due to

lack of funding or resources. None of Google’s contemporaneous communications with

Microsoft indicate insufficient funds or resources. Rather, Google rejected the auction-time

bidding testing only after it had passed several layers of internal review, including cost cutting

sessions and approval by sales and executive leadership. Id. ¶ 276. Google refused even an

initial testing phase that required “little, if any, engineering work” and ignored Microsoft’s offer

to pay for the feature development and testing. Id. The true reason for Google’s refusal, as

stated in an internal Google memo, was simply that Microsoft’s “requests for parity / feature

development” were “not aligned with [Google’s] product or business goals.” Id. 7

               3.      Google also delays cross-engine support for other key Microsoft Ads
                       features

       Google also consistently refused or delayed SA360 support for other Microsoft Ads

features after supporting the same features for Google Ads. Id. ¶¶ 244-55. For example, in

November 2019, Microsoft identified responsive search ads, dynamic search ads, and local



7
  There is no credible evidence of any technical barriers to supporting the Microsoft Ads
features. In several documents, Google employees claim that SA360 cannot support Microsoft
auction-time bidding unless Microsoft Ads also supports a feature called fractional conversions,
which assigns partial or fractional value to clicks made by a user prior to the last click that
resulted in a conversion. SFOF ¶¶ 277-78. That issue concerns advertiser preferences, not
technical requirements. Id. Indeed, Microsoft employees wrote at the time that this was a “delay
tactic” by Google and was not a “blocker for the [conversion sharing] test or for the general
rollout [of auction-time bidding].” Id. The lack of support for fractional conversions did not
impede Skai’s, Marin’s or Adobe’s support for Microsoft auction-time bidding, and Mr. Vallez
of Skai testified that customers benefited from using auction-time bidding even without the
option of also using fractional conversions. Id. The fractional conversions feature also is not
required even to use Google auction-time bidding; indeed, the default on SA360 is last click
attribution, the alternative to fractional conversions. Id.

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inventory ads as three priority features (along with auction-time bidding) that SA360 supported

for Google but not for Microsoft. Id. ¶¶ 248-50. SA360 finally supported those features in 2022,

over a year after Plaintiff States filed their complaint challenging the wide feature disparity. Id. ¶

255.

       Microsoft documents likewise describe the “big gaps” in SA360 support for Google and

Bing, the “delayed support for [Microsoft Ads] features in general,” and that “feature adoption

gaps are evident as compared to competitors when SA360 does not support Microsoft

Advertising features.” Id. ¶¶ 246-48. Google employees also acknowledged “our delays” in

supporting Microsoft Ads features, “the fact that other platforms have had support for years,” the

overall “slow growth and low feature adoption,” and customers’ view that “third-party platforms

[i.e., Skai, Marin, and Adobe] were better designed for multiple engines.” Id. ¶¶ 246-49.

               4.      Google’s delayed or deferred support for Microsoft Ads features
                       harms competition in search advertising markets

       As the Court explained at summary judgment, “[t]he issue is whether Google’s delayed

rollout of SA360 support for Microsoft Ads inhibited or dissuaded advertisers from placing ads

on its competitor’s search engine, thereby harming competition in the general search advertising

market.” SJ Decision at 56. The record contains ample evidence of this anticompetitive harm.

       Google’s conduct harms advertisers by diminishing the efficiency of their ad spend on

SA360. Use of auction-time bidding dramatically increases conversions and return on ad spend.

This includes both Google auction-time bidding, which Google considers its “most critical”

SA360 feature and reported as increasing conversions by          in late 2020 (up from an initial

reported increase of 15-30%), and Microsoft auction-time bidding, which testing showed

increased conversions by 12% on Skai and doubled Home Depot’s return on ad spend. SFOF ¶¶

173, 241, 257. By 2020, over 80% of SA360 customers had “fully adopted” auction-time

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bidding and were “no longer using Intraday bidding on Google Ads campaigns,” and Google has

long known that Microsoft auction-time bidding and greater feature parity are top customer

requests. Id. ¶ 258. Moreover, by denying SA360 customers the ability to efficiently shift ad

spend from Google to Bing, Google is able to ensure that more advertisers bid in its search ad

auctions, which in turn drives up prices for Google search ads. Id. ¶ 259.

        Google’s conduct also directly harms rival GSEs that use Microsoft Ads to attract

customers, including Bing, DuckDuckGo, and Yahoo!, by driving down demand for advertising

on these search engines. Id. ¶ 263. As a Microsoft document explains, lack of support for

Microsoft Ads features causes “Bing relative ROI [to] suffer” and SEM tool “algorithms would

shift budget accordingly.” Id. ¶ 267. Data presented by Google’s expert, Dr. Israel, shows that

Bing’s share of total spend on SA360 decreased over five times more in the eighteen months

after September 2019 than in the same period before. Id. ¶ 268. And ordinary course analyses

conducted by Microsoft in 2020 and 2021 forecast                                         in annual lost

revenues due to SA360’s decision not to support Microsoft auction-time bidding and other key

features. Id. ¶¶ 269-71 (the estimates ranged between                       per year).

        This is more than enough evidence to satisfy Plaintiff States’ burden to show that

Google’s operation of SA360 perpetuates Google’s advertising monopolies. Like the

anticompetitive conduct in Microsoft, Google’s conduct has “the effect of significantly reducing

usage of rivals’ products and hence protecting [Google’s] own [] monopoly.” 253 F.3d at 65.

Put another way, Google violated Section 2 because it “structured its [SA360] product in a way

that made it more difficult for rivals or potential rivals to sell their product” and did so in a




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manner “designed solely to insulate [Google] from competitive pressure.” 8 Phillip E. Areeda &

Herbert Hovenkamp, Antitrust Law ¶ 651c (Fifth Ed. 2023); Burris, 935 F.2d at 1481.

       B.      Google’s Distribution Contracts Hinder Rivals’ Ability to Enter into
               Cost-Effective Contracts with SVPs

       Google’s distribution contracts lower the incentives of rivals to invest and innovate

(JFOF ¶¶ 1067-78); depress the scale of current entrants (Id. ¶¶ 978-1015); discourage future

entry from Apple and others (Id. ¶¶ 1093-125); and in the case of Neeva, hinder its ability to stay

in business (Id. ¶¶ 40, 540, 548). The absence of Neeva as an option for search defaults on major

browsers and operating systems was one reason Neeva exited the general search market. Id. ¶

548 (describing the adverse impact of Google’s contracts on Neeva’s ability to appear as even

one of the default options). As Mr. Ramaswamy of Neeva explained, Google’s contracts

effectively “freeze the ecosystem in place.” Id. ¶ 1120.

       The distribution contracts also make it more costly for Google’s GSE rivals to strengthen

their search results pages, which they could accomplish by securing content from third parties,

such as well-known SVPs. This is a direct “downstream effect of Google’s distribution

agreements.” SJ Decision at 54.




8
  Google did not prove any non-pretextual, procompetitive justification for its refusal to support
Microsoft auction-time bidding and other key Microsoft Ads features. SFOF ¶¶ 273-80.
Google’s attempts to provide justifications through testimony of its employees at trial were
implausible and disproven by the documentary record. Id. In addition, the Court should discount
the self-serving testimony of Google’s witnesses because nearly all of the SA360-related
witnesses that testified at trial improperly withheld or destroyed highly probative evidence.
Ryan Krueger routinely used Google Chats with history off, including to discuss “SA360 product
decisions” and “product feature road map decisions” (JFOF ¶ 1207); Mr. Varia also used Google
Chats with history off, including to discuss SA360’s feature “prioritization process” and
“roadmap planning” (Id.); and Ms. Braddi directed employees to mark emails as privileged even
though they did not seek or contain legal advice (Id. ¶ 1223).

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       Google’s rivals, including Bing, want to partner with SVPs to improve their search

results quality, especially in travel and local verticals. SFOF ¶ 287. For example, Microsoft

seeks content deals with SVPs “to make sure that the answer[] that we’re providing to our users

is a great answer” and to obtain important rich data, which impacts both the quality and

perception of the quality of Bing responses to queries. Id.

       By keeping its GSE rivals at small scale, Google has made them less attractive business

partners to SVPs and others that would otherwise view a GSE as a good way to attract user

traffic and future customers. Id. ¶¶ 285, 291, 295 (Microsoft executive: “the more traffic you

have, the more you have to offer the partner, and so the more the partner’s interested in doing a

deal with you”). That is true for both ad purchases and content partnerships because SVPs that

are disinclined to advertise on Bing are also less interested in “paying” to appear on Bing

through a data-for-traffic trade. Id. ¶¶ 283, 286. Both advertisers and content providers view

Bing as “too small” to deliver a significant audience. Id. ¶¶ 106, 283, 285; id. ¶ 107 (Expedia

cannot shift ad spend from Google to Bing); id. ¶ 285 (working with Bing is not a “huge priority

[for OpenTable] because it doesn’t generate the demand or the traffic or the covers that Google

does”); id. ¶ 109 (Expedia executive: “The amount of time I spent talking with Bing in my career

was zero. Whereas, with Google, it would have been every month and every quarter”).

Microsoft’s inability to provide strong mobile results in verticals like travel and local further

discourages data-for-traffic deals. Id. ¶¶ 288-92.

       When Microsoft



                                         For example,




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                                                                       These are losses and

financial penalties that result directly from the exclusionary distribution contracts and serve no

procompetitive purpose. It is no answer to say that Microsoft is wealthy enough to afford

payments because, under the Sherman Act, a company is not required to make investments if

there is no hope of receiving a return on that investment. See JFOF ¶¶ 1067-78.

IV.    GOOGLE’S ONGOING, VOLUNTARY DEALING WITH MICROSOFT ADS
       RENDERS THE “DUTY TO DEAL” DOCTRINE INAPPLICABLE

       Google argues that Plaintiff States’ SA360 allegations run afoul of the limitations on a

firm’s “duty to deal.” Dkt. 668 at 16. But the relevant case law has no application where a

monopolist maintains an ongoing, voluntary course of dealing. SCOL ¶¶ 38-45. Here there is no

doubt that Google wants and needs an ongoing relationship with Microsoft in order to operate

SA360—the opposite of the circumstances in Verizon Communications, Inc. v. Law Offices of

Curtis V. Trinko, 540 U.S. 398 (2004), in which the defendant did not “voluntarily engage[] in a

course of dealing with its rivals.” Id. at 409. Google asserted the Trinko defense at summary

judgment (Dkt. 427 at 34-35), Plaintiff States responded (Dkt. 465 at 30-31), and the Court

rightly declined to take up Google’s argument and proceeded to analyze the merits of Plaintiff

States’ claims under the normal Microsoft three-step framework. SJ Decision at 54-57. The

Court should take the same approach now.

       Google’s characterization of the integration of Microsoft Ads features as an independent

request for dealing subject to Trinko is inconsistent with Trinko’s facts and reasoning. Trinko

concerned an antitrust claim brought against a firm, Verizon, that had no interest in doing

business with the plaintiff but was forced to do so by federal telecommunications regulation.

Relying on the principle that a monopoly generally is free to choose its customers, Trinko and

related cases have only been applied to circumstances in which (i) the business relationship was

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government mandated, (ii) there was no prior dealing at all, or (iii) any prior dealing had ended.

See Pac. Bell Tel. Co. v. linkLine Commc’ns, 555 U.S. 438, 448 (2009); Trinko, 540 U.S. at 409

(noting that there was no allegation that Verizon would have dealt with the plaintiff “absent

statutory compulsion”); linkLine, 555 U.S. at 450 (defendant’s course of dealing with plaintiffs

“arises only from FCC regulations”); New York v. Facebook, 549 F. Supp. 3d 6 at 27-28 (D.D.C.

2021); New York v. Meta Platforms, Inc., 66 F.4th 288, 305 (D.C. Cir. 2023).

       Thus, by its own terms, Trinko has no application where there is a voluntary, ongoing

course of dealing. Here, a monopolist has chosen, for its own financial interests, to engage with

another marketplace participant. Google voluntarily acquired and for more than ten years has

voluntarily operated the SA360 SEM tool that supports Google ads and other GSE ads. SFOF ¶

124. Google went even further, voluntarily entering into a contract with Microsoft with a

binding escalation process for the two companies to resolve disputes, including Google’s refusal

to support Microsoft auction-time bidding. Id. ¶¶ 233-35. Google now says that it is working on

supporting Microsoft auction-time bidding and will offer it at some future time. Id. ¶ 242. That

is not a “refusal” to do anything—it is an exclusionary delay of promised neutrality for the

purpose of inflicting further harm on rivals and customers.

       Exclusionary conduct occurring within a voluntary, ongoing commercial relationship is

entirely actionable under Section 2. See Trinko, 540 U.S. at 410 (distinguishing Otter Tail

Power Co. v. United States, 410 U.S. 366 (1973), in which “the defendant was already in the

business of providing a service to certain customers … and refused to provide the same service

to certain other customers.”); SCOL ¶¶ 40-41 (collecting cases). Indeed, that is precisely the

circumstance of any meritorious exclusive dealing or tying claim, in which a defendant embeds

anticompetitive conduct within a commercial arrangement. Novell, Inc. v. Microsoft Corp., 731


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F.3d 1064, 1072 (10th Cir. 2013).

       The D.C. Circuit’s recent application of Trinko in New York v. Meta is very different

from this case. There, the dealing had stopped and the challenged policy applied to products

directly competitive with the Facebook platform. Meta, 66 F. 4th at 305 (“Facebook was

prohibiting developers from using Facebook’s Platform to duplicate Facebook’s core products”).

By contrast, here Google is in an ongoing and voluntary course of dealing with Microsoft in

order to support Bing advertising on Google’s cross-engine SEM tool. SFOF ¶¶ 122, 126, 207-

11, 233-34. Indeed, not only are Microsoft Ads features not competitive with SA360’s platform,

they are instead a vital input to the ability of SA360 to deliver a cross-platform tool to

advertisers. Id. ¶¶ 125-26. By refusing to develop Microsoft Ads features for SA360, Google

hampers third-party advertisers’ ability and incentive to buy Bing advertising. Id. ¶¶ 257-59.

This impacts not just Microsoft, but Microsoft’s and Google’s mutual customers. Id. ¶¶ 257-59,

263-72; Facebook, 549 F. Supp. 3d at 31-32 (distinguishing refusals to deal from conduct which,

like in Microsoft, “interferes with the relationship between rivals and third parties”). That is

precisely the type of conduct by a monopolist that the Sherman Act and Microsoft forbid.

                                          CONCLUSION

       Google’s distribution contracts and its SA360 conduct have broadly harmed competition

and Google has not shown any procompetitive justification for the specific acts that Plaintiff

States allege to be illegal. Even if there were any benefit, it would be outweighed by harm. For

the reasons described herein and in the Joint Brief, the Court should hold Google liable for all

claims in Plaintiff States’ Complaint.




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Dated: February 9, 2024   Respectfully submitted,


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                                CERTIFICATE ON SERVICE

       On February 9, 2024, I served this Plaintiff States’ Post-Trial Brief by email on counsel for

Google and counsel for DOJ Plaintiffs in the above-captioned matters.



 February 9, 2024                                 /s/ Matthew McKinley

                                                  Matthew McKinley

                                                  Counsel for Plaintiff States
